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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                  NORFOLK DIVISION

                                                §
  CENTRIPETAL NETWORKS, INC.,                   §
                                                §
         Plaintiff,                             §
                                                §
  v.                                            §
                                                §
  PALO ALTO NETWORKS, INC.,                             Civil Action No. 2:21-CV-00137-RCY-RJK
                                                §
         Defendant.                             §
                                                §

       MEMORANDUM IN SUPPORT OF DEFENDANT’S MOTION TO DISMISS
                 PLAINTIFF’S AMENDED COMPLAINT

        Defendant Palo Alto Networks, Inc. (“PAN”) filed a motion to dismiss Plaintiff Centripetal

 Networks, Inc.’s original Complaint on the basis that (1) Centripetal fails to plausibly state a claim

 of direct, indirect, or willful infringement, and (2) three of the Asserted Patents claim patent-

 ineligible subject matter under 35 U.S.C. § 101. See Dkt. 42-43. Thereafter, Centripetal filed an

 Amended Complaint that suffers from the same defects. See Dkt. 65. Centripetal’s inability to

 remedy those defects confirms that its claims should be dismissed with prejudice. Accordingly,

 pursuant to Fed. R. Civ. P. 12(b)(6), PAN moves to dismiss Centripetal’s Amended Complaint and

 submits this Memorandum in support of its Motion.

        Centripetal’s infringement claims suffer from the same fatal defects as the claims in its

 original Complaint. First, Centripetal’s claims for pre-suit indirect infringement—including both

 induced and contributory infringement—and its claims for willful infringement fail because

 Centripetal has not plead any facts from which one could reasonably infer that PAN had pre-suit

 knowledge of any of the Asserted Patents.          Second, Centripetal’s claims for contributory

 infringement (both pre- and post-suit) fail because Centripetal has failed to allege facts to support




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 a plausible inference that the accused products have no substantial non-infringing uses—an

 essential element to a claim for contributory infringement. Third, Centripetal’s willfulness claims

 fail because its allegations regarding egregious behavior are wholly conclusory.

        Finally, Centripetal’s direct and indirect infringement claims fail because they are long on

 words but short on substance, failing to provide enough specificity to (1) put PAN on notice of

 what products/combinations are accused of infringement and (2) articulate why it is plausible that

 any product/combination infringes. Rather, Centripetal’s direct infringement claims randomly

 intersperse claim language with unrelated, disorganized factual allegations, failing to indicate what

 products/combinations allegedly satisfy the asserted claims and why. Because liability for indirect

 infringement (both inducement and contributory infringement) arises only if there is direct

 infringement, this failing is fatal to both Centripetal’s direct and indirect infringement claims, too.

        As to patent-ineligibility, the claims of U.S. Patent Nos. 10,542,028, 10,757,126, and

 10,091,246 (the “Ineligible Patents”) fail both steps of the patentability test articulated in Alice

 Corp. Pty. Ltd. v. CLS Bank Int’l., 573 U.S. 208, 217-19 (2014). In its Amended Complaint,

 Centripetal recasts its attorney argument, made in opposition to PAN’s motion to dismiss the

 original Complaint (Dkt. 50), as “factual” allegations, even though PAN’s briefing established that

 those arguments are unavailing under controlling case law. Centripetal’s new “factual” allegations

 do not change the legal conclusion here that the claims of the Ineligible Patents (the “Ineligible

 Claims”) fail both steps of the Alice test. Dkt. 65.

        At Alice step one, the Ineligible Claims are directed to filtering and sorting data (here,

 computer network packets) based on rules—an age-old idea that has repeatedly been held

 impermissibly abstract and patent-ineligible. Intell. Ventures I LLC v. Symantec Corp., 838 F.3d

 1307, 1313-14 (Fed. Cir. 2016) (“IV I”) (filtering emails based on rules is impermissibly abstract);




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 Glasswall Solutions, Ltd. v. Clearswift Ltd., 754 F. App’x 996, 997-98 (Fed. Cir. 2018) (“filtering

 electronic files and data” is impermissibly abstract); see also Limelight Networks, Inc. v. XO

 Commc’ns, LLC, 241 F. Supp. 3d 599, 607 (E.D. Va. 2017) (“sorting according to a set of rules”

 patent-ineligible) (citation omitted).   Using rule-based filtering is not unique to computer

 networks, and has long been used in a variety of “brick and mortar” security protocols. Far from

 being “necessarily rooted in computer technology in order to overcome a problem specifically

 arising in the realm of computer networks,” DDR Holdings, LLC v. Hotels.com, L.P., 773 F.3d

 1245, 1257 (Fed. Cir. 2014), the Ineligible Claims are directed to long-standing problems outside

 the realm of computer networks. Further, the Ineligible Claims are written in functional terms,

 describing a desired result instead of a particular solution for achieving that result—“a frequent

 feature of claims held ineligible under § 101.” Elec. Power Grp., LLC v. Alstom S.A., 830 F.3d

 1350, 1356 (Fed. Cir. 2016).

        At Alice step two, once the abstract idea is removed from the Ineligible Claims, none of

 what remains recites anything inventive—such as new components, or a technological

 improvement to the functioning of the recited conventional components—that might transform the

 claims into patent-eligible subject matter. To the extent the Ineligible Claims recite components

 at all, those components—such as processors and memory—are conventional, and the claims recite

 them to perform only their conventional functions (e.g., a processor processing, and a memory

 storing instructions).   Critically, none of the Ineligible Claims “overrides” the routine and

 conventional use of the claimed components. Cf. DDR, 773 F.3d at 1258 (finding claims to be

 patent-eligible where there was such “override”).

        Accordingly, Centripetal’s First through Fourth, Twenty-First, and Twenty-Second causes

 of action, should be dismissed with prejudice.




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 I.      FACTUAL AND PROCEDURAL BACKGROUND

         Centripetal alleges that PAN infringes thirteen patents from six different families by

 making/using/selling one or more of seven different product lines: Next Generation Firewall

 (“NGFW”), Panorama, Cortex, AutoFocus, MineMeld, DNS Security Service, and Enterprise DLP

 Service (collectively the “Accused Products”). See generally Dkt. 65 (Centripetal’s Amended

 Complaint) (hereinafter “Am. Compl.”). For each Asserted Patent, Centripetal alleges that PAN

 both directly and indirectly infringes. See id. at ¶¶ 64-65. With respect to indirect infringement,

 Centripetal alleges that PAN both induces and contributes to infringement. Id. Centripetal further

 contends that PAN’s alleged infringement was willful. Id. at ¶ 67.

 II.     ARGUMENT

         A.      Applicable Legal Standards

         To survive dismissal under Rule 12(b)(6), “a complaint must contain sufficient factual

 matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal,

 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)).

 “Threadbare recitals of the elements of a cause of action, supported by mere conclusory statements,

 do not suffice.” Iqbal, 556 U.S. at 678; see also Twombly, 550 U.S. at 557. Accordingly, the

 plaintiff must “do more than simply allege that he or she is entitled to relief;” instead, “the

 complaint must ‘show’ that the plaintiff is entitled to relief” through well-pled facts. Macronix

 Int’l Co. v. Spansion Inc., 4 F. Supp. 3d 797, 801 (E.D. Va. 2014) (referencing Fed. R. Civ. P. 8).

 A plaintiff cannot satisfy this burden through “unwarranted inferences, unreasonable conclusions,

 or    arguments”    masquerading      as   factual       allegations.   Nemet    Chevrolet,    Ltd.    v.

 Consumeraffairs.com, Inc., 591 F.3d 250, 255 (4th Cir. 2009). Similarly, “legal conclusions,

 elements of a cause of action, and bare assertions devoid of further factual enhancement fail to

 constitute well-pled facts for Rule 12(b)(6) purposes.” Id.


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                        Direct Infringement

        Direct infringement claims are subject to the pleading standards established in Iqbal and

 Twombly, which require more than “vague generalities” and “conclusory formulaic recitations” of

 infringement. Golden v. Apple Inc., 819 F. App’x 930, 931 (Fed. Cir. 2020), cert. denied, 141 S.

 Ct. 1067, 208 L. Ed. 2d 530 (2021) (citing Twombly, 550 U.S. at 570; Iqbal, 556 U.S. at 678). As

 the Federal Circuit recently held, although “[a] plaintiff is not required to plead infringement on

 an element-by-element basis,” it must nonetheless provide enough specificity to “place the alleged

 infringer ‘on notice of what activity . . . is being accused of infringement.’” Bot M8 LLC v. Sony

 Corp. of Am., __ F.4th __, 2021 WL 2932690, at *6 (Jul. 13, 2021) (quoting Lifetime Indus., Inc.

 v. Trim-Lock, Inc., 869 F.3d 1372, 1379 (Fed. Cir. 2017)). Specifically, a complaint must include

 “factual allegations that, when taken as true, articulate why it is plausible that the accused product

 infringes the patent claim.” Id. at *7.

                        Induced Infringement

        To adequately plead induced infringement, a complaint must contain facts plausibly

 showing, among other things, that defendant “knew that the customer’s acts constituted

 infringement.” CarFax, Inc. v. Red Mountain Techs., Inc., 119 F. Supp. 3d 404, 415 (E.D. Va.

 2015) (citing In re Bill of Lading Transmission & Processing Sys. Patent Litig., 681 F.3d 1323,

 1339 (Fed. Cir. 2012)). It is not enough to simply allege that a defendant knew of the allegedly

 infringing act—plaintiff must allege facts that plausibly support the conclusion that defendant both

 (a) knew of the patent, and (b) knew that the induced acts constitute infringement. See Commil

 USA, LLC v. Cisco Sys., Inc., 575 U.S. 632, 639 (2015).

                        Contributory Infringement

        With respect to contributory infringement, plaintiff must plead facts plausibly showing,

 among other things, that (1) defendant knew of the asserted patents, and (2) the accused products


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 have “no substantial non-infringing use.” Jenkins v. v. LogicMark, LLC, No. 3:16-CV-751-HEH,

 2017 WL 376154, at *4 (E.D. Va. Jan. 25, 2017); see Bill of Lading, 681 F.3d at 1337 (to survive

 a motion to dismiss, a plaintiff must plead, inter alia, “facts that allow an inference that the

 components sold or offered for sale have no substantial non-infringing uses.”).

                        Willfulness

        A plaintiff alleging willful infringement must “plead facts sufficient to support an inference

 ‘plausible on its face’ that the alleged conduct is of the egregious nature described in [Halo Elecs.,

 Inc. v. Pulse Elecs., Inc., 136 S. Ct. 1923, 1935 (2016)].” Jenkins, 2017 WL 376154, at *5. To

 do so, plaintiff must allege facts from which the Court could plausibly infer that (1) “[defendant]

 had actual notice of the patents-in-suit,” and (2) “[d]efendant's actions were ‘willful, wanton,

 malicious, bad-faith, deliberate, consciously wrongful, flagrant, or—indeed—characteristic of a

 pirate.’” Id. (quoting Halo, 136 S. Ct. at 1932). With respect to knowledge, pre-suit knowledge

 is “a ‘prerequisite’ to a willfulness claim.” Bushnell Hawthorne, LLC v. Cisco Sys., No. 1:18-CV-

 760, 2019 WL 8107921, at *2 (E.D. Va. Feb. 26, 2019) (dismissing willfulness allegations because

 “[c]omplaint alleges no facts making it plausible, as opposed to merely possible, that defendant

 had pre-lawsuit knowledge); accord Välinge Innovation AB v. Halstead New England Corp., No.

 CV-16-1082, 2018 WL 2411218, at * 11 (D. Del. May 29, 2018) (rejecting assertion that willful

 infringement claim “may solely be based on post-suit conduct”).

                        Patent Ineligible Subject Matter

        Patent eligibility under § 101 is a question of law, which courts may resolve on a motion

 to dismiss. OIP Techs., Inc. v. Amazon.com, Inc., 788 F.3d 1359, 1362 (Fed. Cir. 2015); Consumer

 2.0, Inc., v. Tenant Turner, Inc., 343 F. Supp. 3d 581, 583 (E.D. Va. 2018), aff'd, 796 F. App’x

 752 (Fed. Cir. 2020) (granting motion to dismiss as patent-ineligible claims that “use generic

 computing devices and techniques to provide automated entry to a property”). Claims directed to


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 abstract ideas are not patentable. Alice, 573 U.S. at 216-17. Courts apply a two-step framework

 “distinguishing patents that claim ... abstract ideas from those that claim patent-eligible application

 of those concepts.” Id. at 217. In applying this framework, courts may rely on “representative

 claims” where, as here, the challenged claims are “substantially similar and linked to the same

 abstract idea.” Content Extraction, 776 F.3d at 1348; CalAmp Wireless Networks Corp. v.

 ORBCOMM, Inc., 233 F. Supp. 3d 509, 512 n.1 (E.D. Va. 2017).

        At Alice step one, courts “must first determine whether the claims at issue are directed to a

 patent-ineligible concept.” Id. at 218. This requires “looking at the ‘focus’ of the claims, their

 ‘character as a whole,’” to determine if they are directed to excluded subject matter. Elec. Power,

 830 F.3d at 1353. “The inquiry often is whether the claims are directed to ‘a specific means or

 method’ for improving technology or whether they are simply directed to an abstract end-result.”

 RecogniCorp, LLC v. Nintendo Co., Ltd., 855 F.3d 1322, 1326 (Fed. Cir. 2017) (citation omitted).

 A claim that can be performed mentally or analogized to brick-and-mortar concepts likely is

 directed to an abstract idea. See, e.g., CyberSource Corp. v. Retail Decisions, Inc., 654 F.3d 1366,

 1371 (Fed. Cir. 2011) (“[M]ethods which can be performed mentally, or which are equivalent of

 human mental work, are unpatentable abstract ideas . . . .”); IV I, 838 F.3d at 1314 (analogizing

 abstract claim to brick-and-mortar post office).

        At Alice step two, after removing the abstract idea from the claims, courts search for a

 remaining “‘inventive concept’ sufficient to ‘transform’ the claimed abstract idea into a patent-

 eligible application.” Alice, 573 U.S. at 221 (citation omitted). There is nothing inventive about

 implementing an abstract idea using “‘well-understood, routine, conventional activit[ies]’

 previously known to the industry.” Id. at 225 (citation omitted). Likewise, limiting a claim to a

 particular technological environment does not supply an inventive concept to an otherwise abstract




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 claim. Content Extraction & Transmission LLC v. Wells Fargo Bank, Nat’l Ass’n, 776 F.3d 1343,

 1348-49 (Fed. Cir. 2014).

        B.      Centripetal Fails To Plausibly Allege Willful Infringement or Indirect
                Infringement (Induced or Contributory)

                        Centripetal’s Failure to Plausibly Allege Pre-Suit Knowledge of the
                        Patents is Fatal to Centripetal’s Willful Infringement and Pre-Suit
                        Indirect Infringement Claims

        Centripetal’s allegation that notice of the Asserted Patents was provided via service of the

 Complaint and Amended Complaint is insufficient to sustain its claims for willful infringement

 and pre-suit indirect infringement. “[P]re-lawsuit knowledge of the patent” is “a prerequisite for

 a willfulness claim.” Bushnell, 2019 WL 8107921 at *2. Thus, to survive a motion to dismiss its

 willful infringement claims, Centripetal must plausibly demonstrate that PAN had knowledge of

 the Asserted Patents before Centripetal filed its original Complaint. Id. (dismissing willfulness

 allegations because “[c]omplaint alleges no facts making it plausible, as opposed to merely

 possible, that defendant had pre-lawsuit knowledge of the patent). Similarly, to state a claim for

 indirect infringement based on pre-suit conduct, Centripetal must plead facts sufficient to plausibly

 demonstrate that PAN had knowledge of the Asserted Patents before Centripetal filed its original

 Complaint. See DSU Med. Corp. v. JMS Co., 471 F.3d 1293, 1304 (Fed. Cir. 2006) (“The

 requirement that the alleged infringer knew or should have known his actions would induce actual

 infringement necessarily includes the requirement that he or she knew of the patent.”); Fujitsu Ltd.

 v. Netgear Inc., 620 F.3d 1321, 1326 (Fed. Cir. 2010) (“To establish contributory infringement,

 the patent owner must show … that the accused infringer had knowledge of the patent….”); see

 also DoDots Licensing Solutions LLC v. Lenovo Holding Company, Inc., No. CV-18-098, 2019

 WL 3069773, at *4 (D. Del. July 12, 2019) (dismissing pre-suit indirect infringement claims

 because the amended complaint “include[d] no factual allegations that plausibly suggest



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 Defendants possessed the requisite knowledge of infringement of any of the Patents-in-Suit prior

 to filing the original Complaint”); Radware, Ltd. v. A10 Networks, Inc., 2013 WL 5373305, *2-3

 (N.D. Cal. Sept. 24, 2013) (dismissing all claims for indirect infringement based on activities

 occurring before knowledge of the asserted patent).

        As in its original Complaint, none of the factual allegations in Centripetal’s Amended

 Complaint, either alone or in combination, plausibly demonstrates that PAN had pre-suit

 knowledge of any Asserted Patent. In fact, Centripetal merely repeats its Original Complaint’s

 insufficient allegations. First, Centripetal alleges that “PAN had knowledge of the Asserted

 Patents based on PAN’s interactions with Centripetal through various channels.” Am. Compl. ¶¶

 67-68. These purported interactions consist of: (1) alleged visits to portions of “Centripetal’s

 website regarding business, products, patents, and press releases discussing Centripetal’s patent

 litigations,” and (2) receipt of “datasheets and white papers regarding Centripetal’s products”

 either by downloading them from Centripetal’s website or through correspondence with

 Centripetal personnel. Id. at ¶¶ 68. As to the datasheets, Centripetal asserts that the documents

 “indicate Centripetal’s products are subject to one or more U.S. patents.” Id. But even if true,

 none of those allegations plausibly demonstrates that PAN had knowledge of the Asserted Patents.

        Centripetal does not allege that any material purportedly accessed or received by PAN

 identified any Asserted Patent. At most, Centripetal’s allegations demonstrate merely that it is

 conceivable, but not plausible, that PAN knew of the Asserted Patents. Such allegations are “not

 sufficient for pleading knowledge under Iqbal/Twombly.” See Rembrandt Soc. Media, LP v.

 Facebook, Inc., 950 F. Supp. 2d 876, 883 (E.D. Va. 2013) (sharing the same law firm, purchasing

 a patent that cited asserted patent, and being sued for infringement of a patent that cited asserted

 patent demonstrated nothing “more than a conceivable possibility of knowledge of the [asserted




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  patent], rather than a plausible inference that [defendant] possessed such knowledge”).

          Second, Centripetal alleges that PAN had knowledge of the Asserted Patents “by way of

  Centripetal’s marking of its products.” Am. Compl. ¶ 68. But marking is merely a means by

  which to provide constructive notice. It is self-evident that constructive notice and actual notice

  are not the same thing.1 Accordingly, Centripetal’s marking allegations are insufficient to

  plausibly demonstrate that PAN had actual knowledge of any Asserted Patent at any time before

  the filing of this lawsuit.

          Third, Centripetal alleges that the parties had interactions in 2016 and 2017 in which

  Centripetal disclosed information about its “proprietary and patented technology.” Am. Compl.

  ¶¶ 69-70, 72. Specifically, Centripetal alleges that: (1) Centripetal and PAN had conversations in

  2016 in which Centripetal disclosed “details about its proprietary and patented technology,” id. at

  ¶¶ 69-70; and (2) in 2017, Centripetal and PAN discussed “Centripetal’s technology” in the context

  of an investment opportunity, and thereafter PAN “requested access to technical documentation

  regarding Centripetal’s products,” id. at ¶ 72. Centripetal’s contention that these interactions could

  confer knowledge of the Asserted Patents is contrary to law. The interactions in question took

  place more than a year before any of the Asserted Patents issued,2 and thus cannot show that PAN

  had knowledge of patents that did not yet exist. See, e.g., Adidas America, Inc., v. Skechers USA,

  Inc., No. 3:16-CV-1400, 2017 WL 2543811, *4 (D. Or. June 12, 2017) (“As a matter of law,

  Plaintiffs could not have acquired knowledge of the patents-in-suit before their issuance . . . .”).

  Regardless, Centripetal alleges only that the discussions related to Centripetal’s “technology,” and

  does not allege that any patents were even discussed. Am. Compl. ¶¶ 69-70, 72.



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    See, e.g., Arctic Cat Inc. v. Bombardier Recreational Prod. Inc., 950 F.3d 860, 864 (Fed. Cir.
  2020) (distinguishing “constructive notice” —i.e., via marking—from “actual notice”).
  2
    The ’906 Patent, issued on October 2, 2018, was the first of the Asserted Patents to issue.


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         Fourth, Centripetal alleges that “[s]ince 2016, Centripetal has met with PAN employees at

  several industry conferences” and “provided demonstrations of its products at these industry

  conferences.” Id. at ¶ 71. This allegation is similarly insufficient to support a plausible inference

  that PAN had knowledge of the Asserted Patents. As an initial matter, Centripetal does not allege

  that any of these conferences took place after the Asserted Patents issued—one of which issued as

  recently as February 23, 2021.3 Discussions occurring before the Asserted Patents existed could

  not possibly provide knowledge of those patents. Further, Centripetal does not allege that any

  patents—much less the Asserted Patents—were discussed at the conferences; instead, Centripetal

  alleges merely that it “provided demonstrations of its products.” Id. at ¶ 71 (emphasis added).

         Fifth, Centripetal alleges that PAN knew of the Asserted patents through public

  information related to Centripetal’s previous litigation with Keysight and Cisco. Id. at ¶ 73.

  However, not one of the Asserted Patents was at issue in the Keysight or Cisco cases.4 As such,

  even if PAN had knowledge of the patents litigated in those cases, that would not plausibly show

  that PAN had knowledge of the Asserted Patents.5

         In sum, none of Centripetal’s allegations shows it is plausible that PAN had pre-suit

  knowledge of the Asserted Patents—at most, they show merely that it is “conceivable”—which is

  insufficient as a matter of law. See Rembrandt, 950 F. Supp. 2d at 883. As such, Centripetal’s




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    The ’797 Patent issued on February 23, 2021.
  4
    See Amended Complaint, Centripetal Networks, Inc. v. Keysight Techs., Inc., Case No. 2:17-cv-
  383-HCM-LRL, ECF 192 (E.D. Va Jun. 13, 2018) (asserting U.S. Patent Nos. 9,264,370;
  9,137,205; 9,560,077; 9,413,722; 9,565,213; and 9,917,856); Amended Complaint, Centripetal
  Networks, Inc. v. Cisco Systems, Inc., Case No. 2:18-cv-94-MSD-LRL, ECF 29 (E.D. Va. March
  29, 2018) (asserting U.S. Patent Nos. 9,686,193; 9,560,176; 9,560,077; 9,413,722; 9,203,806;
  9,160,713; 9,124,552; 9,565,213; 9,137,205; 9,674,148; and 9,917,856).
  5
    Knowledge of a parent patent does not support a plausible inference that the party had knowledge
  of other patents in the family. See, e.g., Virginia Innovation Sciences, Inc. v. Samsung Elecs. Co.,
  Ltd., 983 F. Supp. 2d 700, 709–712 (E.D. Va. 2013).

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  claims for pre-suit indirect infringement (both induced and contributory) and its claims for

  willfulness should be dismissed with prejudice.

                         Centripetal’s Willful Infringement Claims Also Fail Because Centripetal
                         Has Not Plausibly Alleged that PAN’s Conduct was Egregious

         As with its original Complaint, Centripetal’s willfulness claims fail because Centripetal

  has not pled facts plausibly showing that PAN’s conduct was egregious. See Bushnell, 2019 WL

  8107921, at *1-2 (“[T]o state a plausible claim of willful infringement, the complaint must also

  allege facts to demonstrate the defendant’s behavior was egregious under the circumstances.”); see

  also Halo, 136 S. Ct. at 1935 (limiting willfulness infringement to “egregious cases of misconduct

  beyond typical infringement.”). Centripetal’s willfulness allegations include only a formulaic

  recitation of the elements of the claim—i.e., that PAN’s infringement is “willful and egregious”

  and that “PAN has acted with blatant and egregious disregard for Centripetal’s patent rights with

  an objectively high likelihood of infringement”—but do not include specific factual allegations of

  egregious acts. See Am. Compl. ¶¶ 76-77. Instead, Centripetal offers only conclusory allegations

  that PAN’s infringement was willful and egregious because it was “aware of the Asserted Patents”

  and “has undertaken no efforts to avoid infringement.” See id. ¶¶ 74-76.6

         “Threadbare recitals of the elements of a cause of action, supported by mere conclusory

  statements, do not suffice.” Iqbal, 556 U.S. at 678; see also Twombly, 550 U.S. at 557 (“[A]

  complaint is insufficient if it relies upon ‘naked assertions’ and ‘unadorned conclusory allegations’

  devoid of ‘factual enhancement.’”). Indeed, courts in this district and others routinely dismiss

  such conclusory willful infringement claims. See Jenkins, 2017 WL 376154, at *5 (requiring

  pleading facts supporting an inference “that the alleged conduct is of the egregious nature


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   Centripetal repeats the same sort of conclusory allegations in the direct infringement counts for
  each of the Asserted Patents. See id. at ¶¶ 91-94, 120-123, 152-155, 186-189, 215-218, 245-248,
  275-278, 306-309, 332-335, 361-364, 391-394, 420-423, 452-455.

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  described in Halo”); Varian Med. Sys., Inc. v. Elekta AB, No. 15–871, 2016 WL 3748772, at *8

  (D. Del. July 12, 2016) (dismissing willfulness allegation for failing to state facts showing that

  defendants’ actions “actually amounted to an egregious case of infringement of the patent”); CG

  Tech. Dev., LLC v. Zynga, Inc., No. 2:16-CV-859-RCJ-VCF, 2017 WL 662489, at *4 (D. Nev.

  Feb. 17, 2017) (“Under Halo, Plaintiffs have failed to state a claim for willful infringement because

  they have failed to allege any facts suggesting that Defendant’s conduct is ‘egregious . . . beyond

  typical infringement.’” (quoting Halo, 136 S. Ct. at 1935 (alteration in original)). For these

  reasons, Centripetal’s willful infringement claims should be dismissed with prejudice.

                         Centripetal’s Indirect Infringement Claims Also Fail Because Centripetal
                         Has Not Alleged The Required Elements of Those Claims

         As PAN noted in its first motion to dismiss, a required element of any contributory

  infringement claim is demonstrating that the products or components sold by the defendant “have

  no substantial noninfringing uses.” i4i Ltd. P’ship, 598 F.3d at 850–51 (citing 35 U.S.C. § 271(c)).

  Although Centripetal repeats its allegation that “PAN has contributorily infringed and continues

  to contributorily infringe one or more claims” of the Asserted Patents, Centripetal fails to allege,

  much less plead any supporting facts to plausibly show, that the Accused Products lack substantial

  non-infringing uses. Indeed, its allegations instead demonstrate implausibility.

         For example, Centripetal alleges that “PAN contributorily infringes the ’028 Patent . . .

  because it has provided software and computer systems with software installed that act as a

  material component of claims of the ’028 Patent.” Am. Compl. ¶ 103. Centripetal further alleges

  that “PAN knows that its products are particularly suited to be used in an infringing manner,” and

  the Accused Products “are not staple articles or commodities of commerce because they are

  specifically made to be used in an infringing manner.” Id. At no point, however, does Centripetal

  allege—much less plead any supporting facts to plausibly show—that the Accused Products have



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  no substantial non-infringing uses, as § 271(c) requires. See id. at ¶¶ 98-107.

         Moreover, any possible assertion that the Accused Products have no substantial non-

  infringing use is directly undermined by the Amended Complaint.             For example, although

  Centripetal conclusorily alleges the NGFW products could alone infringe the ’028 Patent, all of

  Centripetal’s claim-specific infringement allegations for the ’028 Patent—to the extent they can

  be deciphered—appear to require the use of two or more Accused Products in combination (i.e.,

  at least NGFW, Panorama, and AutoFocus). See, e.g., Am. Compl. ¶¶ 82-89. With respect to the

  other Accused Products, Centripetal does not allege that any of those products could alone infringe

  the ’028 Patent. See, e.g., Am. Compl. ¶ 82. Because the Accused Products do not have to be

  used together, however, they each necessarily have independent non-infringing uses.7

  Accordingly, Centripetal’s own allegations demonstrate the implausibility of any contention that

  the Accused Products lack substantial non-infringing uses.

         The allegations in Centripetal’s contributory infringement claims for the other Asserted

  Patents follow the same format, and thus also fail to allege that the Accused Products have no

  substantial non-infringing uses.8 All of Centripetal’s claims for contributory infringement are

  insufficiently pled and must be dismissed. Bill of Lading, 681 F.3d at 1337 (“To state a claim for

  contributory infringement, therefore, a plaintiff must, among other things, plead facts that allow

  an inference that the components sold or offered for sale have no substantial non-infringing uses.”).

         In addition, Centripetal fails to plead any factual allegations to show it is plausible that

  PAN specifically intended its customers to infringe any of the Asserted Patents, as required for



  7
    See Am. Compl., Ex. 29 at 10 (noting that “[y]ou can manage NGFWs through Panorama,” not
  that you must do so), 11 (same); Ex. 17 (describing Panorama as an independent product that may
  be used for “network security management”); Ex. 22 (describing AutoFocus as an independent
  product that may be used to provide “threat intelligence”).
  8
    See Am. Compl. ¶¶ 132, 164, 198, 227, 257, 287, 318, 344, 373, 403, 432, 464.


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  inducement, or that PAN knew that its products were “especially made” for use in an infringement

  of the Asserted Patents, as required for contributory infringement. CarFax, 119 F. Supp. 3d at

  414; Jenkins, 2017 WL 376154, at *4. As such, Centripetal’s claims for indirect infringement

  (both induced and contributory infringement) should be dismissed with prejudice.

         C.      Centripetal Fails to Plausibly Allege Direct Infringement Of Any Accused
                 Product (Or Combination Thereof)

         Centripetal’s direct infringement allegations suffer from two fatal flaws.            First,

  Centripetal’s direct infringement allegations fail to provide enough specificity to place PAN on

  notice of what products are accused of infringement. See Bot M8, 2021 WL 2932690, at *6

  (complaint must “place the alleged infringer ‘on notice of what activity . . . is being accused of

  infringement’”). Rather than identifying individual products that it contends infringe, Centripetal

  broadly uses marketing names (e.g., “NGFW”, “Panorama,” and “Cortex”) that refer to entire

  product lines. See Am. Compl. at ¶82; see e.g., https://www.paloaltonetworks.com/network-

  security/next-generation-firewall (listing many individual products that are sold under the

  marketing name “Next-Generation Firewalls”). In addition, Centripetal fails to specify any release

  or configuration that allegedly infringes, which is particularly problematic given that some

  products within at least the NGFW and Panorama product lines pre-date the Asserted Patents.9

         Second, like the allegations found inadequate in Bot M8, Centripetal’s direct infringement

  allegations fail to “articulate why it is plausible that the accused product infringes the patent

  claim.” 2021 WL 2932690, at *7. Taking the ’028 Patent as an example, Am. Compl. at ¶¶ 79-


  9
        See, e.g., https://www.paloaltonetworks.com/cyberpedia/the-evolution-of-firewalls-from-
  packet-filtering-to-machine-learning-powered-ngfws#:~:text=In%202008%2C%20Palo%20
  Alto%20Networks,addition%20to%20stateful%20firewall%20capabilities (stating that products
  within the NGFW product line were available as early as 2008, which is well before the earliest
  issue date of the Asserted Patents); https://www.paloaltonetworks.com/services/support/end-of-
  life-announcements/end-of-life-summary (identifying Panorama products that reached “end of
  life” before the earliest issue date of the Asserted Patents).


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  89, Centripetal’s allegations are largely made up of legal conclusions (¶ 79), restatements of the

  elements of the cause of action (¶¶ 80-82), an identification of seven PAN product lines that

  Centripetal contends include infringing products (¶ 82), and a near verbatim recitation of claim

  language from the Asserted Patents coupled with the conclusory assertion that the Accused

  Products include each recited element and therefore infringe (¶ 83). Paragraphs 84-89 are the only

  paragraphs that include factual allegations relating to the Accused Products. Id. at ¶¶ 84-89.

         But those paragraphs—like the allegations found to be insufficient in Bot M8—do not

  “support a plausible inference” that any Accused Product (or combination or version thereof)

  actually satisfies the elements of any asserted claim. Bot M8, 2021 WL 2932690, at *7-8

  (affirming dismissal of complaint that “point[ed] to different . . . components in the allegedly

  infringing devices, [but] never [said] which one or ones satisfy the [claim] limitation”). For

  example, Centripetal alleges the Accused Products infringe the ’028 patent “under at least the

  following scenarios: (1) NGFW, (2) NGFW and Panorama, (3) NGFW, Panorama, and Cortex,

  (4) NGFW and Cortex, with any of the scenarios alone or in combination with AutoFocus,

  MineMeld or DNS Security.” Am. Compl. at ¶ 82. But its infringement allegations are a

  disorganized jumble in which all products/combinations are presented together without any

  plausible showing that any particular product or combination, configuration, or version of products

  allegedly infringes, or how it does so. See Am. Compl. at ¶¶ 84-89. Centripetal’s direct

  infringement allegations for the other Asserted Patents are the similarly deficient.10

         These failings are fatal to all of Centripetal’s direct infringement claims. And because

  liability for inducement and contributory infringement arises only if there is direct infringement,




  10
    See id. at ¶¶ 114-118, 143-150, 175-184, 209-213, 238-243, 268-273, 298-304, 329-330, 355-
  359, 384-389, 413-418, 443-450.


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  see supra Section III(B), they are also fatal to Centripetal’s indirect infringement claims. Chan

  Soo Kim, 2018 WL 1172998, at *3 (“The plaintiffs fail to state a claim for direct infringement, so

  their claim for induced infringement cannot succeed.”); Jenkins, 2017 WL 376154, at *5.

         D.      The ’126 and ’028 Packet Filtering Patents Are Patent Ineligible Under § 101

                         The ’126 and ’028 Patents and Their Representative Claims

         The ’126 and ’028 Patents (Am. Compl. Exs. 2 and 1, respectively), which share the same

  specifications,11 named inventors, assignees, and effective filing date (as continuations from a

  common application), are directed to rule-based packet filtering. See ’028 Patent, 1:48-49; Am.

  Compl. ¶¶ 14, 16 (acknowledging that the ’126 and ’028 Patents are directed to “filtering network

  data packet transfers based on one or more rules” and provide “a rule-based network threat

  detection technique”). The idea of using rules to filter is as old as the concept of filtering itself,

  and the claims of the ’126 and ’028 Patents are directed to merely the abstract idea of using rules

  to filter data within the particular technological environment of a computer network.

         As shown by the bolded text of independent claim 8 of the ’028 Patent (see Ex. A), beyond

  a generic packet filtering device, the purported invention is claimed entirely in functional terms.

  And while verbose, claim 8 is very simple. It claims a packet filtering device that: (1) receives

  packets and rules (that correspond to network threat indicators); (2) allows a first packet to proceed

  to its destination if that packet satisfies a first rule, and communicates information about that event;

  (3) receives an update to at least one rule to modify the operator (from allow to block a packet)

  when that rule is met; and (4) prevents (i.e., blocks) a second packet from proceeding if that packet

  satisfies the modified first rule, and communicates information about that event. Notably missing



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    The only differences in the specifications are in the “Cross Reference to Related Applications”
  and “Summary” sections. ’028 Patent, 1:4-14, 1:39-2:14; ’126 Patent at 1:4-16, 1:41-2:16.
  Accordingly, most citations in this section are to the ’028 Patent.

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  from the claim is any recitation of what rules to use or how to perform the recited functions—let

  alone how to identify or block network threats. Instead, the claim is directed to the abstract idea

  of using rule-based packet filtering.

         Claim 8 of the ’028 Patent is representative of all asserted claims of the ’028 and ’126

  Patents because all of those claims are “substantially similar and linked to the same abstract idea”

  as ’126 claim 8 and ’028 claim 8—using rules to filter packets. Content Extraction, 776 F.3d at

  1348; Two-Way Media Ltd. v. Comcast Cable Commc’ns, LLC, 874 F.3d 1329, 1334-35, 1337

  (Fed. Cir. 2017) (holding claims of two patents ineligible based on analysis of claim from one).

  Indeed, Centripetal’s Amended Complaint treats all claims of these patents the same. Am. Compl.

  ¶¶ 41-49. Independent claim 8 of the ’126 Patent is nearly identical to claim 8 of the ’028 Patent,

  except that the former specifies that rules are received from, and information is communicated to,

  a generic “rule provider device” and that the network-threat indicators “comprise unique Internet

  host addresses or names.” ’126 Patent, 19:60, 20:1-3.12 The other independent claims are also

  nearly identical except they claim a method and computer-readable media corresponding to the

  device of claim 8. The dependent claims of the ’028 Patent add trivial limitations that Centripetal

  does not allege to be non-abstract or inventive—because they are not. See Am. Compl. ¶ 49. Each

  dependent claim of both the ’028 and ’126 Patents is directed to the same impermissibly abstract

  idea of using rules to filter data, IV I, 838 F.3d at 1357, reciting only result-oriented, functional

  claim language. Elec. Power, 830 F.3d at 1356. No claim recites additional, much less non-

  generic, computer components. Therefore, this Court may properly analyze claim 8 of the ’028




  12
     After an obviousness-type double patenting rejection of the ’028 Patent, applicant filed a
  terminal disclaimer over the ’126 Patent, which is “a strong clue that” the ’028 claims “lack[] a
  patentable distinction over” the ’126 claims. See Simple Air, Inc. v. Google LLC, 884 F.3d 1160,
  1168 (Fed. Cir. 2018).


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  Patent as representative. Content Extraction, 776 F.3d at 1348.

                         Alice Step One: The Claims Are Directed to the Abstract Idea of Using
                         Rules to Filter Data

         The claims of the ’126 and ’028 Patents are directed to the abstract idea of using rules to

  filter data—precisely what the Federal Circuit found impermissibly abstract in IV I, 838 F.3d at

  1313-14. There, the claims recited “receiving ... file content identifiers for data files,” “creating

  file content IDs,” “determining ... whether [the] content identifier matches ... other identifiers,”

  and “outputting ... an indication of the data file based on [the determination].” Id. Similarly, the

  claims here are directed merely to “receiv[ing] ... packet filtering rules ... to identify packets,”

  “apply[ing] ... an operator specified by the first packet filtering rule” to a first and second packet,

  and “communicat[ing] information” related to whether packet delivery was allowed or blocked—

  rendering the claims impermissibly abstract. See id.; see also Ericsson Inc. v. TCL Commc'n Tech.

  Holdings Ltd., 955 F.3d 1317, 1327 (Fed. Cir. 2020) (“[W]e have repeatedly found the concept of

  controlling access to resources via software to be an abstract idea.”); Elec. Power, 830 F.3d at

  1353 (holding ineligible claims directed to the abstract idea of “collecting information, analyzing

  it, and displaying certain results of the collection and analysis”); FairWarning IP, LLC v. Iatric

  Systems, Inc., 839 F.3d 1089, 1094 (Fed. Cir. 2016) (holding ineligible claims “directed to

  collecting and analyzing information to detect misuse and notifying a user when misuse is

  detected”); Intellectual Ventures II LLC v. JP Morgan Chase & Co., No. 13-cv-3777, 2015 WL

  1941331, *1, 8-12 (S.D.N.Y. Apr. 28, 2015) (holding ineligible claims directed to an “improved

  method for detecting and preventing entry of a packet containing ‘malware’” using “access rules”).

  Receiving a packet filtering rule is merely collecting information, which the Federal Circuit has

  long held abstract. Elec. Power, 830 F.3d at 1353-54. Applying rules is a mental process falling

  within the abstract idea category. Id. at 1354. And communicating, or “merely presenting the



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  results of,” the abstract processes of receiving and applying is also abstract. Id. (citation omitted).

         The § 101-inspired allegations that Centripetal added to its Amended Complaint are

  unavailing, as these new allegations (a) do not (and could not) change the abstract nature of the

  patents’ claims, and (b) present sweeping, conclusory allegations about eligibility that a Court need

  not accept as true. Simio, LLC v. Flexsim Software Prods., Inc., 983 F.3d 1353 (Fed. Cir. 2020)

  (“A statement that a feature ‘improves the functioning and operations of the computer’ is, by itself,

  conclusory.”); Cisco Sys., Inc. v. Uniloc 2017 LLC, 813 Fed. App’x. 495, 498-99 (Fed. Cir. 2020)

  (“sweeping conclusory statements…[do] not preclude dismissal”).

         First, Centripetal’s allegation that the claims are directed to “the use of network threat

  indicators that are used to prevent malicious attacks on a network,” confirms their abstractness.

  Am. Compl. ¶ 47. Permitting or preventing something from passing a barrier based on an indicator

  of a threat—such as a passport from an adversary country; residence in a neighboring hostile

  fiefdom; a suspicious package with no return address—merely describes filtering for threats, an

  abstract idea, and has long been practiced to limit entry to a protected area. That the filtering here

  is performed using a network threat indicator does not change the abstract nature of the claims.13

  As PAN established in its first motion to dismiss, the claims merely limit “an age-old practice” to

  “a particular ... technological environment”—here, packets moving through a computer network—

  which is insufficient. IV 1, 838 F.3d at 1330; FairWarning, 839 F.3d at 1094-95 (invalidating

  claims that “merely implement an old practice in a new environment”). Yet, Centripetal ignores

  these cases and repeats, in its Amended Complaint, the same failed argument that the claims are

  limited to a network environment.




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    The ’028 specification admits that it was conventional to use “network-threat indicators” in
  network security. Am. Comp., Ex. 1 at 1:23-27.


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         Second, Centripetal alleges that the claims are non-abstract because they purportedly

  improve network security. Am. Compl. ¶¶ 41-49. But the specifications admit that the alleged

  invention is nothing more than automating the conventional process of human analysts comparing

  third-party-provided network threat indicators with packets to identify threats, by incorporating

  the network threat indicators into rules to be carried out by a computer. ’028 Patent, 1:23-37.

  “[C]laiming the improved speed or efficiency inherent with applying the abstract idea [of rule-

  based packet filtering] on a computer [is] insufficient to render the claims patent eligible.”

  Customedia Techs., LLC v. Dish Network Corp., 951 F.3d 1359, 1364 (Fed. Cir. 2020); Enco Sys.,

  Inc. v. DaVincia, LLC, 845 Fed. App’x. 953, 957 (Fed. Cir. 2021) (finding ineligible claims that

  “‘conserve human resources’ by automating work otherwise performed through human labor”).

  Moreover, as is the case here, the Court may disregard allegations in the Complaint that merely

  re-package assertions of non-abstractness already rejected by the courts—such as claiming the

  improved “efficiency” of applying an abstract idea on a computer. Simio, 983 F.3d at 1365.

         Third, Centripetal alleges the claims are non-abstract because they describe, “in detail,”

  that the “system will apply rules that are based on the network threat indicators and, based on

  certain conditions, will cause the system to reconfigure the packet filtering device to prevent

  further traffic into the network.” Am. Compl. ¶ 47. In fact, the claims recite no such thing. Rather,

  the claims recite receiving “an update to at least one packet filtering rule” without specifying what

  that update is or how it is implemented. ’028 Patent at 19:63. Likewise, Centripetal relies on the

  purportedly “dynamic” nature of its invention, even though (a) the word “dynamic” is not in the

  claims, and (b) PAN had cited multiple cases in its first motion to dismiss that held that claims




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  directed to “dynamic” filtering are impermissibly abstract.14 Id. at ¶¶ 41, 48; Dkt. 53 at 13.

  Centripetal also alleges that the patents “detail a particular concrete solution” that “require[s]

  specific, unique operations be performed on a particular type of communication (data packets) and

  particular devices (e.g., modified operators, responsive and updated packet filtering devices).”

  Am. Compl. ¶ 47. But regardless of whether the specifications include such technical details, the

  claims do not require any particular concrete solution or solve a specific technological problem,

  much less in the manner required by the Federal Circuit.15 ChargePoint, Inc. v. SemaConnect,

  Inc., 920 F.3d 759, 769 (Fed. Cir. 2019) (“Even a specification full of technical details about a

  physical invention may nonetheless conclude with claims that claim nothing more than the broad

  law or abstract idea underlying the claims.”).

         Here, the claims are directed to the result of deploying rules to filter data, and fail to address



  14
     The use of a dynamic rule for filtering data is as abstract, and longstanding, as is the use of a
  static rule, and is not “necessarily rooted in computer networks.” See, e.g., Citrix Sys., Inc. v. Avi
  Networks, Inc., 363 F. Supp. 3d 511, 522 (D. Del. 2019) (use of a dynamic rather than static
  response in a computer network is an abstract idea, is not rooted in computer networks, and would
  have similar advantages in contexts other than computer networks); see also Interval Licensing
  LLC v. AOL, Inc., 896 F.3d 1335, 1339-40, 1342-48 (Fed. Cir. 2018) (claims to dynamically
  receiving and updating displayed data in a network were patent-ineligible); Intellectual Ventures
  I LLC v. Capital One Fin. Corp., 850 F.3d 1332, 1341-42 (Fed. Cir. 2017) (claims to dynamic
  modification of XML computer files are impermissibly abstract). Examples of dynamic filtering
  based on rules are common: a castle guard allows entry by subjects of a given fiefdom one day,
  but blocks them the next based on a proclamation from the king; a prison guard permits certain
  types of packages into prison one day, but blocks them the next day based on a security alert issued
  by the warden; an assistant permits certain types of telephone calls to reach his executive one day,
  but blocks them the next based on the executive’s directive.
  15
     Cf. SRI Int’l, Inc. v. Cisco Sys., Inc., 930 F.3d 1295, 1303 (Fed. Cir. 2019) (finding that claims
  were directed to a “specific technique” for solving a “technological problem in computer
  networks,” where “the claims actually prevent the normal, expected operation of a conventional
  computer network”); Finjan, Inc. v. Blue Coat Sys. Inc., 879 F.3d 1299, 1305-06 (Fed. Circ. 2018)
  (claims “employ[ed] a new kind of file that enables a computer security system to do things it
  could not do before”); Ancora Techs., Inc. v. HTC Am., Inc., 908 F.3d 1343, 1348-49 (Fed. Cir.
  2018) (claimed method “specifically identifi[ed]…a structure . . . stored in a particular,
  modifiable, non-volatile portion of the computer’s BIOS” to address “a technological problem
  with computers”).


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  how that result is achieved. See Free Stream Media Corp. v. Alphonso Inc., No. 2019-1506, 2021

  WL 1880931, at *6 (Fed. Cir. May 11, 2021) (“a relevant inquiry at Alice Step 1 is ‘whether the

  claims in the[] patent[] focus on a specific means or method that improves the relevant technology

  or are instead directed to a result or effect that itself is the abstract idea and merely invoke generic

  processes and machinery’”) (citation omitted; alterations in original). The claims do not state what

  rules to use—they instead recite using unspecified “rules” that are “configured” to achieve a

  desired outcome (“cause the packet filtering device to identify packets corresponding to at least

  one of a plurality of [unspecified] network threat indicators”). Nor do the claims specify how the

  rules are used, how they purportedly reconfigure a packet filtering device, how they identify a

  network threat, or how a packet filtering device determines whether a packet satisfies a rule. In

  other words, “the claims here do not ‘ha[ve] the specificity required to transform a claim from one

  claiming only a result to one claiming a way of achieving it.’” Ericsson, 955 F.3d at 1328 (citation

  omitted; alternation in original).

          Finally, Centripetal’s continued reliance on generic “data packets” (Am. Compl. ¶ 43) is

  unavailing.16 See Content Extraction, 776 F.3d at 1347 (rejecting argument that claims were “not

  drawn to an abstract idea because human minds are unable to process and recognize the stream of

  bits output by a scanner”). In fact, “with the exception of generic computer-implemented steps,

  there is nothing in the claims themselves that foreclose them from being performed by a human,

  mentally or with pen and paper,” thus underscoring their abstractness. IV I, 838 F.3d at 1318;

  CyberSource, 654 F.3d at 1371 (“[M]ethods which can be performed mentally, or which are



  16
     Centripetal raised in its Opposition to PAN’s Motion to Dismiss the unavailing argument, now
  reproduced as a “factual” allegation, that limiting the claims to packets in a computer network
  somehow makes the claims eligible. Dkt. 50 at 22. As noted in the Reply, this assertion is contrary
  to black letter law. Dkt. 53 at 15-16. By reasserting its argument as fact, Centripetal demonstrates
  that no amount of additional pleading could save these claims.


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  equivalent of human mental work, are unpatentable abstract ideas.”); Two-Way Media, 874 F.3d

  at 1334-35 (holding ineligible claims directed to routing and monitoring packets in a network);

  Intellectual Ventures II LLC v. JP Morgan Chase & Co., No. 13-cv-3777, 2015 WL 1941331, *1,

  8-12 (S.D.N.Y. Apr. 28, 2015) (holding ineligible claims directed to filtering packets).

                         Alice Step Two: The Claims Recite Non-Inventive Conventional Features
                         and Generic, Result-Oriented Functional Limitations

         At Alice step two, the Court must first remove the abstract idea from the claim, and then

  “determine whether the additional elements” add an inventive concept sufficient to transform the

  claim. Alice, 573 U.S. at 217 (emphasis added). These “additional elements” of the ’126 and ’028

  Patent claims contain nothing inventive (alone or as an ordered combination) that might transform

  the claims into patent eligible subject matter. The claims’ recitation of generic and conventional

  computer components—a processor and memory—does not add an inventive concept. In re Bd.

  of Trs. of Leland Stanford Junior Univ., 989 F.3d 1367, 1374 (Fed. Cir. 2021) (“it is hard to

  imagine a patent claim that recites hardware limitations in more generic terms than…a ‘computer’

  with a ‘processor’ and a ‘memory’”); Ericsson, 955 F.3d at 1330-31 (“When a claim ‘does no

  more than require a generic computer to perform generic computer functions,’ as here, the claims

  lack an inventive concept sufficient to demonstrate eligibility at step two.”) (citation omitted);

  FairWarning, 839 F.3d at 1096 (“[R]ecitations of basic computer hardware, such . . . a

  microprocessor” did not make claims directed to abstract ideas patent eligible). Further, the claims

  recite those components at a high-level of generality, and the specifications establish that both

  components were conventional. E.g., ’028 Patent, 3:60-63 (“Packet-filtering device 144 may

  include memory 208, one or more processors 210, one or more communication interfaces 212, and

  data bus 214.”), 3:67-4:5, 16:64-17:19 (describing functions and steps executed by generic

  “computers or other devices” and “program modules”). And the claims do not recite an “override”



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  of the normal operation of these conventional components—nor does Centripetal contend

  otherwise. Cf. DDR, 773 F.3d at 1258.

         Despite Centripetal’s conclusory allegations otherwise (Am. Compl. ¶ 48), there also is

  nothing inventive about the “utilization of information from independent threat-intelligence

  providers” or “dynamically updating rule sets.” The specifications admit it was conventional

  practice for organizations to receive reports of network-threat indicators from third-party threat-

  intelligence providers and to compare them to traffic logs. ‘028 Patent, 1:17-35. Further, as PAN’s

  analogies confirm, “dynamically updating rule sets” or “reconfiguration of operators within packet

  filtering rules” to filter threats is not remotely inventive. Am. Compl. ¶ 48. “[E]ven assuming

  [updating rules based on network threat indicators] had not been done before, there is nothing

  inventive disclosed in the claims that permits [packet filtering in a manner] that w[as] previously

  not possible.” Free Stream Media, 2021 WL 1880931, at *7 (holding claims patent-ineligible).

         Other aspects of the claims, such as the use of generic “rules” with “operators” to filter

  data is part of the abstract idea itself, and therefore cannot be credited as “inventive” in the step

  two analysis. But even if such use were credited at step two, it would not change the outcome

  because use of generic “rules” and “operators” to filter data was not new, and those elements

  “merely describe the functions of the abstract idea itself, without particularity,” therefore failing

  to supply any inventive concept. Intellectual Ventures I LLC v. Capital One Fin. Corp., 850 F.3d

  1332, 1341 (Fed. Cir. 2017) (“Capital One”).

         “Other precedent illustrates that pragmatic analysis of § 101 is facilitated by considerations

  analogous to those of §§ 102 and 103 as applied to the particular case.” Internet Pats. Corp. v.

  Active Network, Inc., 790 F.3d 1343, 1347 (Fed. Cir. 2015). Here, the Federal Circuit recently




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  affirmed the PTAB’s determination that many claims of the ’722 patent17 were invalid as obvious

  in view of a single reference, a ruling that also post-dated Judge Morgan’s earlier decision in the

  Keysight case. See Centripetal Networks, Inc. v. Cisco Sys., No. 2020-2057, slip op. at 1, 15 (Fed.

  Cir. Mar. 10, 2021) (affirming the PTAB’s determination that claims 1–7, 10–12, 14–21, 24, and

  25 in the ’722 patent are invalid because they “would have been obvious to a relevant artisan under

  35 U.S.C. § 103 in view of a User Guide for the Sourcefire 3D System—a manual the parties have

  called ‘Sourcefire.’”). As shown in the attached Exhibits C and D, representative claim 8 of each

  of the ’028 and ’126 Patents recite nearly identical limitations as claim 19 of the ’722 Patent, which

  the Federal Circuit held was obvious in view of a single reference describing a prior art packet

  filtering device.,18 With their abstract idea removed, there is nothing inventive in these claims.

         Therefore, the claims of the ’126 and ’028 Patents are ineligible under § 101.

         E.      The ’246 Packet Sorting Patent Is Patent Ineligible Under § 101

                         Background of the ‘246 Patent and its Representative Claims

         The ’246 Patent is directed to rule-based data sorting. As shown by independent claim 8,

  the alleged invention is directed to this longstanding practice (e.g., as in a mailroom), implemented



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     The Court may take judicial notice of the ’722 Patent, attached as Ex. B, under Fed. R. Evid.
  201. Courts may consider documents attached to a motion to dismiss so long as they are integral
  to the complaint and relevant. See Blankenship v. Manchin, 471 F.3d 523, n.1 (4th Cir. 2006).
  Items in the public record, like patents and judicial decisions, may be subject to judicial notice.
  See Hall v. Virginia, 385 F.3d 421, 424, n.3 (4th Cir. 2004). The Complaint specifically references
  prior litigations against Keysight and Cisco, in which Centripetal asserted the ’722 Patent. Am.
  Compl. ¶¶ 67, 73. The ’722 Patent attached hereto is identical to the ’722 Patent attached to the
  complaints in those actions. E.g., Centripetal Networks, Inc. v. Keysight Techs., Inc., No. 2:17-
  cv-383, ECF No. 1-4 (E.D. Va. July 20, 2017).
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     While Cisco did not appeal to the Federal Circuit the PTAB’s determination that Cisco had not
  shown that five dependent claims (claims 8, 9, 13, 22 and 23) of the ’722 Patent were obvious over
  the single prior art reference at issue in the underlying inter partes review proceeding, see
  Centripetal, slip op. at 9, n.2, none of the claims in the ’126 or ’028 Patents mirrors any of those
  five dependent claims. Compare Ex. B at 19:59-20:9, 20:49-54, 21:55-22:34, with Am. Compl.,
  Exs. 1 at 17:45-23:22 & 2 at 17:48-23:35.


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  on a generic computer and with respect to network data packets. See Ex. E. As shown in bold,

  see id., the purported invention is claimed in functional terms and is devoid of any implementation

  detail. Distilled, claim 8 recites a device that (a) receives packets and rules, and (b) executes,

  sequentially, three sets of rules, where each rule specifies a larger set of addresses.

          Claim 8 is representative of each asserted claim of the ‘246 Patent, as each claim is directed

  to rule-based data sorting. Independent claims 1 and 15 are nearly identical to claim 8, except that

  claim 1 recites a method and claim 15 recites a computer-readable medium. The dependent claims

  provide merely minor alterations for various rules (e.g., identifying spoofed/protected addresses

  to drop/copy packets, as in claims 2, 6, 7, 9, 13, 14, 16, and 20, without specifying what rules to

  use or how to accomplish those functions); additional generic components (e.g., network interfaces

  in claims 3, 10, and 17); and additional functional, result-based limitations without any recitation

  of how to accomplish those functions (e.g., performing packet alteration/transformation functions

  in claims 4, 5, 11, 12, 18, and 19). None of these additional limitations alters the § 101 analysis.

                         Alice Step One: The Claims Are Directed to the Abstract Idea of Sorting
                         Data According to Rules

          Claims directed to the abstract idea of sorting computer data according to rules are patent

  ineligible. IV I, 838 F.3d at 1316-1318 (claims directed to “receiving, screening, and distributing

  e-mail” impermissibly abstract and analogous to corporate mailroom). The claims of the ’246

  Patent and those in IV I recite nearly identical steps. There, the claims recited a post office for

  email comprising “a database of business rules,” “a rule engine ... to selectively apply the business

  rules,” and a “distribution mechanism ... to control delivery of the e-mail message” Id. at 1316-17.

  Similarly, here the ’246 claims recite a network security device configured to “receive ... a plurality

  of rule sets ... [and] packets,” and “execute” a first, second, and third rule sequentially, which rules

  specify sets of addresses. The ’246 claims are ineligible for the same reasons as the claims in IV



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  I. Likewise, the Federal Circuit has held other analogous claims to be directed to unpatentable

  subject matter. See Elec. Power, 830 F.3d at 1353 (“collecting information, analyzing it, and

  displaying certain results of the collection and analysis” is unpatentable); Intellectual Ventures I

  LLC v. Capital One Fin. Corp., 850 F.3d 1332, 1340 (Fed. Cir. 2017) (“Capital One”) (“the

  abstract idea of collecting, displaying, and manipulating data” is unpatentable).

         Centripetal’s Amended Complaint alleges the “’246 Patent covers network security

  devices … that process” packets “with multiple rulesets prioritized to apply at different times.”

  Am. Compl. ¶ 50-53. As an initial matter, what a patent claim covers is different than what the

  claim requires. A claim can cover non-abstract implementations, but still be impermissibly

  abstract if not limited to such concrete, particular implementations—as is the case here.19 Like the

  claims in IV I to “screening messages,” which the Federal Circuit analogized to corporate

  mailrooms, 838 F.3d at 1317-18, the ’246 claims sequentially sort incoming data packets according

  to rules to forward the packets to appropriate addresses. Implementing an old practice on generic

  computers cannot save the claim from abstraction. See Credit Acceptance Corp., 859 F.3d at 1055.

  Further, the claims can be performed largely, if not entirely, mentally—executing a rule that

  specifies a set of addresses to where a packet “should” go requires nothing more than use of one’s

  mental faculties. And applying rules to network packets (instead of in some other technological

  environment), or on a “packet-by-packet” basis, does not alter the claims’ focus on sorting data

  according to rules, or save the claims from being abstract.

         Further confirming that the claims are abstract, they do not recite how network attacks are



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     Further, even if the claims were limited to such “prioritized” rulesets, they would still be
  impermissibly abstract for claiming long-prevalent practices—e.g., sorting mail and delivering
  first to executives, then managers, then everyone else; boarding a plane where ticketed passengers
  are allowed on the plane sorted by First Class, Business Class, and general boarding; etc.—using
  generic computers. See Credit Acceptance Corp., 859 F.3d at 1055.


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  identified or stopped; rather they are directed merely to the idea of using rules to sort data.

  Centripetal also does not—and cannot—allege that the ’246 claims are “rooted in computer

  technology to overcome a problem specifically arising in computer networks,” which is not

  surprising given that neither sorting data nor preventing intrusions is unique to networks.

                         Alice Step Two: The Claims Recite Conventional Features and Generic,
                         Result-Oriented Functional Limitations That Are Not Inventive

         With the abstract idea removed from the ’246 Patent claims, their additional elements

  contain no inventive features to transform the claims into patent eligible subject matter. The

  claimed packet security gateway is described as “any computing device configured to receive

  packets and perform a packet transformation function on the packets.” ’246 Patent, 4:50-52. As

  with the ’126 and ’028 claims, recitation of generic, conventional computer components—a

  “processor” and “memory,” and in some dependent claims, an “interface” to receive packets—

  does not add an inventive concept. Alice, 573 U.S. at 223-24; FairWarning, 839 F.3d at 1096; Bd.

  of Trs. of Leland Stanford Junior Univ., 989 F.3d at 1374. Further, none of the claims purports to

  “override” the normal operation of the claimed components. Cf. DDR, 773 F.3d at 1258.

         Similarly, the rules recited in the ‘246 Patent’s claims do not supply an inventive concept

  because they are (a) part of the abstract idea itself, and (b) set forth in wholly functional terms—

  describing merely the desired result, instead of concrete, particular solutions for achieving that

  result. “[E]ssentially result-focused, functional ... claim language has been a frequent feature of

  claims held ineligible under § 101.” Elec. Power, 830 F.3d at 1356. The claims fail to describe

  what rules to use, how any of the claimed rules are formed or executed, or how any of the other

  functions recited by the claims are achieved. See id. at 1355 (“Inquiry therefore must turn to any

  requirements for how the desired result is achieved.”) (emphasis in original). The limitations of

  the claims here do not instruct how technologically to perform the claimed steps, only that they



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  should be done. See Interval Licensing LLC v. AOL, Inc., 896 F.3d 1335, 1345 (Fed. Cir. 2018)

  (finding claims ineligible where the “limitations are for either collecting a second data set or

  controlling the order and timing of when to display the collected second data set, not for how to

  engineer or program the display of the second data set”) (emphasis in original).

         Nor does it suffice for Centripetal to allege that the claims are inventive because network

  traffic was traditionally processed in an opposite manner. Am. Compl. ¶ 54. Far from being an

  “inventive concept,” this is (1) the epitome of an abstract idea, and (2) self-evidently not inventive.

  Sorting (executing rules) from smallest to largest, whether based on addresses or anything else, is

  entirely routine and conventional activity. For example, an airline might board passengers sitting

  in first class (fewest seats) first, business class second, and coach class (with the most seats) third.

         Therefore, the claims of the ’246 Patent are ineligible under § 101.

  III.   CONCLUSION

         Centripetal has not plausibly alleged indirect infringement (induced or contributory) or

  willful infringement. Centripetal’s direct infringement allegations are also deficient in that they

  fail to provide enough specificity to place PAN on notice of how any particular product or

  combination thereof would infringe. This defect is fatal to both Centripetal’s direct and indirect

  infringement claims. Further, the asserted claims of the ’126, ’028, and ’246 Patents are directed

  to abstract ideas using generic computer components. Precedent confirms that such a bare

  combination is insufficient to confer patent eligibility. Thus, the patent-ineligibility of these claims

  is well-suited for disposition on a motion to dismiss. For the reasons set forth above, PAN

  respectfully requests that this Court grant its Motion to Dismiss Plaintiff’s Amended Complaint

  with prejudice.




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   Dated: July 30, 2021                 Respectfully submitted,

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                                      CERTIFICATE OF SERVICE


            I hereby certify that on July 30, 2021, I electronically filed the foregoing with the Clerk of

  Court using the CM/ECF system, which will send a notification of such filing to all counsel of

  record.


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